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STATE OF MICHIGAN

COURT OF APPEALS

 

CLAIRE EVELYN RYAN, FOR PUBLICATION
January 15, 2004
Plaintiff-Appellee, 9:00 a.m.
v No. 240695
Kent Circuit Court
TIMOTHY J. RYAN and CHRIS RYAN, LC No. 01-09528 DZ

Defendants-Appellants. l

 

Before: Cooper, P.J. and Fitzgerald and Kelly, JJ.

KELLY, J.

Defendants appeal as of right the trial court’s order of dismissal without prejudice and its
order denying defendants’ motion to rescind all orders entered by the trial court. We reverse and
remand with instructions to enter an order of dismissal with prejudice in defendants’ favor and
vacate all previous orders entered by the trial court as void ab initio.

I. F actual Background and Procedural History2

Defendants and their four children lead an upper middle class lifestyle with the children
attending private schools. Plaintiff, the oldest, was a few months shy of her seventeenth birthday
at the time of the events giving rise to this action. In 2001 , the relationship between plaintiff and
defendants deteriorated According to defendants, plaintiff began dating Ryan McGinn in early
2000. Although defendants Were initially supportive of this relationship, viewing it as “normal

 

l Although the original action was filed as a complaint for divorce, plaintiff filed an “amended
complaint” including emancipation and abuse and neglect petitions. At some point thereafter,
the trial court sua sponte changed the caption to “In re Claire Evelyn Ryan,” but the case
classification code remained “DZ.” Because the action originated as a complaint for divorce and
the lower court clerk never changed the caption, we retain the original caption, MCR 8.l l9.

2 The factual background is derived from the affidavits and documentation filed mostly by
defendants in the lower court. Not once did the trial court conduct an evidentiary hearing.
Rather, the trial court entered each order based upon improper ex-parte conversations, pleadings
and/or arguments of counsel.

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dating,” they became concerned when plaintiff reported excessive drinking at McGinn’s
household, that McGinn’s mother, Adele McGinn-Loomis, did not like plaintiff and that McGinn
complained of problems with his parents. Timothy Ryan further stated:

On July 4, 2001, my wife reported to me that Claire, who had been at Ryan

McGinn’s house for a bon-fire, had broken up with him. She also reported to me

that Adele McGinn-Loomis had screamed at Claire, in the presence of other

guests at the bon-fire, that Claire was a “whore and a slut.” On the morning of

July 5, Claire confirmed to me that Adele had called her a whore and a slut. At

that point I told Claire she should not go to the McGinn-Loomis home, Later that

day l learned from Claire’s mother that Claire had announced that even though

she had broken up with Ryan, she was going to secretly date him so that his

mother would not know about it. When I learned this I told Claire that she should

not be secretly dating Ryan because she should not be party to Ryan sneaking

around behind his parents’ back. I also reiterated that even if his parents changed

their mind about the dating she would still not be allowed to go to their house.

On July 5, 2001, Timothy Ryan found plaintiff packing her bags and threatening to run
away. According to Timothy Ryan, after plaintiff started walking down the street, he put her in
the car, driven by Chris Ryan, and took her to Pine Rest for family counseling Because plaintiff
tried to jump out of the moving car, Timothy Ryan held her “tightly.” After the initial
counseling session, plaintiff and defendants returned home, but sought counseling on another
occasion. According to the counselor, plaintiff suffered from a depressive disorder and
borderline personality features. Noting the family’s communication difficulties and plaintiffs
need of more intensive therapy, the counselor referred the family to Catholic Social Services.

A few days later, after receiving a report of physical abuse, an investigator from Child
Protective Services (CPS) came to the Ryans’ house to talk about the July 5, 2001, incident
According to Timothy Ryan:

He [the investigator] told us that his preliminary conclusion was that there was no

abuse and he wanted us to understand that the reason he came is because any time

a complaint is made CPS is required to make such an investigation, whether there

is any Substance to it or not. He also told us that while his conclusion was that

there was no abuse he would ultimately have to have his conclusion approved by

a supervisor, and that unless we heard something further we should assume that

his conclusion had been approved.

No further action was taken by CPS.

On September 10, 2001, plaintiff packed her bags and left the house to stay with family
friends. Defendants decided to allow plaintiff to stay at the friends’ home for a few days,
presumably as a “cooling off’ period. But because plaintiff had not returned by the end of the
week, Timothy Ryan called the friends suggesting that they tell plaintiff she was no longer
welcome. Plaintiff subsequently moved to the McGinn-Loomis household although defendants
did not approve of this living arrangement 'l`imothy Ryan also alleged:

On September 16 and September 17, I also learned that Claire had been planning
to run away for several weeks or months; Adele McGinn-Loomis had been

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encouraging Claire to run away; Adele McGinn-Loomis had told Claire that she
would obtain guardianship of her; and Adele McGinn-Loomis had taken Claire to
a lawyer’s office to sign papers about guardianship.

Timothy Ryan called the police on September 17, 2001, and reported that plaintiff had
run away from home and was at the McGinn-Loomis house. When the police arrived at the
McGinn-Loomis household, plaintiff told the police that she would not go with her father and if
she were forced to, she would run away again. Timothy Ryan then made arrangements for
plaintiff to spend the evening with neighborhood friends. That evening, defendants decided to
send plaintiff to Cross Creek Manor, a private boarding school in Utah.3 That same evening,
plaintiff called McGinn-Loomis twice stating that she was being sent to a boarding school that
she did not want to attend and “begging” McGinn-Loomis to come and get her. The following
day, plaintiff was flown to Utah and was no longer in the trial court’s jurisdiction.

On September 19, 2001, the trial court entered an ex-parte order stating:

l. The Detroit Metro police department, or any other police departinth having
proper jurisdiction, is authorized to detain the Plaintiff and return her to Grand
Rapids, MI immediately.

2. That the minor child be placed at the Bridge in Grand Rapids, MI for a period
of 2 weeks and pending a hearing before the Honorable Circuit Court.

 

3 According to documents filed in the trial court1

Cross Creek Manor is a residential treatment center for girls located in the “Color
Country of the West” in southwest Utah. [It] serve[s] Junior High and High
School age students. These girls have excellent potential but are headed for some
irreversible problems. Typically, these teens who are determined to do their “own
thing” regardless of who it hurts, or how it may alter their futures.

Parents often realize that something must be done to change their daughter’s
present course. Intervention in a controlled environment becomes essential
Without a controlled environment, the parent’s attempt to intervene is often lost to
the influence of a negative peer group.

Years of experience have enabled Cross Creek Manor to develop a quality
program designed to benefit each girl. Cross Creek manor provides a balanced
program that includes individual and group therapy with licensed therapists,
individualized academic instruction, behavior modification, intensive
seminars/workshops, physical fitness, a structured daily schedule, and emotional
growth/personal development courses.

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3. That the Honorable Circuit Court will immediately schedule a hearing
regarding the Plaintiff’s complaint

At the time the order was entered, no complaint or motion had been filed with the circuit
court clerk and plaintiff was already residing in Utah. Notice of the order was not provided to
defendants In addition, there was no hearing before the order was entered. Rather, there were
two telephone calls4 between the trial court, McGinn-Loomis,5 and the purported attorney6 for
plaintiff, Mary L. Benedict.

The following day, Benedict filed a “Complaint for Return and Divorce from Parents.”
The complaint, based primarily on defendants’ choice of school for plaintiff, requested that
plaintiff be divorced from her parents because she is an adult able to make her own decisions.
The complaint cited no authority for the relief requested, nor was it verified or accompanied by
an affidavit At the same time, Benedict filed a motion for return of plaintiff Notably, although
the September 19, 2001, order stated that the trial court had “read and considered Plaintiff s
verified motion and affidavit” before issuing the order, it is uncontested that the motion, filed the
day after the order Was entered, was not verified or accompanied by an affidavit

On September 28, 2001, Benedict filed a motion for the appointment of guardian ad
litem, release of records, and temporary placement Benedict also filed a motion for an amended
ex-parte order returning plaintiff to Grand Rapids.7 Benedict also requested that plaintiff be
allowed to live with a family friend during the pendency of this matter, or, if that was
unavailable, that plaintiff be permitted to choose an alternative living situation.

Defendants moved to rescind the September 19, 2001, order contending it was an
improper ex-parte order. Defendants also moved for summary disposition of the complaint for
failure to state a claim under MCR 2.116 (C)(S), and for costs against Benedict for filing a
frivolous action. Defendants asserted that (l) the motion for appointment of a guardian ad litem
was not accompanied by an affidavit verified statement or required notice (2) plaintiff did not
having standing to file a complaint for divorce from her parents, an action that does not exist in
Michigan and (3) plaintiff, a minor, lacked capacity to contract with Benedict for representation.

 

The telephone calls were made to the trial judge’s home, The record is devoid of any
indication that the administrative rule for the random assignment of cases to prevent “judge
shopping” was complied with or even considered MCR 8.lll. Nor was any record made
detailing these improper ex-paite contacts until defendants’ moved to disqualify the trial court.
Michigan Code of Judicial Conduct, Cannon 3(A)(4).

5 McGinn-Loomis is a deputy clerk in the trial court

6 We use the term “purported attorney” because as a minor, plaintiff did not have the capacity to
retain an attomey. Dep’t of Civil Rights v Beznos Corp, 421 Mich 110, 120; 365 NW2d 82
(1984).

7 In support for this motion, Benedict cursorin stated: “That the Plaintiff has standing to pursue
this action pursuant to In Re Jessica DeBoer; Bowie v Arder; In Re Clausen; In Re Gould; Yang
v Long, et al.”

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Before the motion was heard, Benedict filed an “amended complaint” for “declaration of
rights, emancipation, et al.,” which essentially consisted of an emancipation petition and an
abuse and neglect petition. lt is uncontested that plaintiff, who Was still in Utah, had no contact
with Benedict before the “amended complaint” Was filed. The petition for emancipation was not
verified, nor did it include any of the statutorily required affidavits or documents The unverified
abuse and neglect petition requested “suitable placement” for plaintiff and termination of
defendants’ parental rights alleging, in part, “that the Defendants have forcefully enrolled the
Plaintiff in a boot camp for troubled children, when the Plaintiff is not a troubled child [and] that
said boot camp program is likely to be more harmful to the child rather than helpful . . . .”

At an October 8, 2001, hearing, the trial court ruled:

Based on the conflicting allegations that have been made in this case, in order for
the Court to be able to make fair and impartial rulings with regard to these
matters, and recognizing that children, especially when they’re older children, are
not property that the parents have an absolute right to control, and I do believe
that a guardian ad litem would be appropriate

Therefore, the Court will enter an order for the appointment of Attorney Judy
Ostrander as Claire Ryan’s guardian ad litem.

The trial court reserved its ruling on defendants’ motion for summary disposition for a later date.

On October 9, 2001, the trial court entered an order appointing Judy Ostrander guardian
ad litem for plaintiff yet failed to articulate the authority under which the order was entered. lt
also ordered the parties to fully cooperate with the guardian ad litem, that the guardian ad litem
have access to all records and reports pertaining to plaintiff, and that the guardian ad litem have
private telephone access to plaintiff Learning that Benedict had sought legal assistance in Utah
in an attempt to enforce the original ex-parte order to return plaintiff to Grand Rapids, the trial
court stayed the ex-parte order pending a continuation of the hearing.

On October 25, 2001, the trial court reconvened to address defendants’ motion for
summary disposition. At that time, defense counsel argued:

So the question l had for the Court and l still do, is what’s going on when a
lawyer purporting to represent a minor who has no capacity to hire that lawyer,

does not have capacity to be a plaintiff, can file an action under a cause of action

that doesn’t exist, divorce from parents, and from that bootstrap it not only into
ex-parte relief, but the appointment of a guardian ad litem and thereafter amend

and try to get before this Court and say, all right, it’s an emancipation action and
everything that’s happened before this date can simply fall under the umbrella of

this emancipation action after the fact That makes no sense Whatsoever.

Defendants also addressed the procedural deficiencies of the pleadings and, with respect to the
substance of the claim, argued that parental decisions regarding their children’s Welfare are
preeminent Defense counsel hirther argued:

So in -- in light of everything faced by the Ryans at that point in time, a daughter
who may be suicidal, a daughter who’s clearly got depression issues, a daughter
who may have borderline personality issues, a daughter who has run away and

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moved in with a boyfriend, boyfriend’s mother who has made various threats that
this Court has seen in Mr. Ryan’s affidavits, including maybe being a person
who’s going to be Claire’s guardian, when faced with all of that, how is it that Mr.
and Mrs. Ryan, the defendants in this matter, can be second guessed and sued by
Ms. Benedict?

Benedict responded that in this case the fundamental rights of the child and parents conflict She
further argued that plaintiffs best interests were at issue and that the school in Utah was not in
her best interest, but rather, emotionally harrnful.

The trial court ruled:

Before the Court is a Motion to Dismiss [sic]. Originally that motion
spoke to the divorce complaint The complaint has now been amended to address
two counts, the first being emancipation, and the second a possible abuse and
neglect that could lead to a third-party custody guardianship matter.

The Court will grant in part the motion and deny in part the motion.

l do believe that the Motion to Dismiss is appropriate as to the original
action.

The Court does not find that the complaint fails in full because there was a
proper amendment per court rule.

The Court does find that the actions for emancipation and abuse and
neglect are intensely factual issues that must be determined at future hearings.

**$

But in any event, l do believe that the amended complaint should stand,
and that the technical requirements that [defense counsel] cites are not enough to
defeat the complaint since the parents have, by their own actions, removed the
child from the State of Michigan and this general jurisdiction to cure.

So the complaint, as amended, shall stand, and the Motion to Dismiss shall
be denied as it pertains to the amended complaint with counts with regard to
emancipation and abuse and neglect

On November 2, 2001, the trial court entered an order dismissing plaintiffs original complaint,
but denying summary disposition as to the “amended complaint”

On December 12, 2001, the trial court entered an order that defendants receive
counseling, again without articulating any underlying authority. On December 20, 2001,
plaintiff returned to Michigan and was placed into foster care pursuant to the guardian ad litem’s
recommendation for temporary placement Plaintiff was also given twenty-one days to cure the
emancipation petition. On January 18, 2002, defendants filed objections to the temporary
placement arguing that the required hearing was never held.

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On January 31, 2002, plaintiff filed her own affidavit in support of the emancipation
petition, but failed to file any other required documentation or affidavits. Over defendants’
objections, plaintiff sought and received an order permitting her contact with McGinn and
McGinn-Loomis. Meanwhile, the trial court severely curtailed defendants’ contact with plaintiff
Yet defendants continued to pay plaintiffs support, private school tuition at West Catholic High
School, medical insurance and other expenses.

0n February 8, 2002, defendants again moved for summary disposition of the
emancipation and abuse and neglect petitions citing MCR 2.116(C)(l), (4), (8) and (10).
Defendants argued that the emancipation petition should be dismissed because it was fatally
defective on its face and lacked factual support Regarding the abuse and neglect petition,
defendants argued that because the trial court failed to conduct a preliminary hearing or make
findings of probable cause, it did not have subject matter jurisdiction Because the trial court
lacked jurisdiction, defendants argued, the orders issued should be declared void ab initio.
Defendants also argued that the petition for abuse and neglect was insufficient on its face.

Benedict responded that the trial court had heard volumes of oral argument and reviewed
numerous documents, all of which provided probable cause to believe that the allegations
contained in the petition might be proved at a hearing. Benedict further asserted that defendants’
motion was simply another harassment tool to cause plaintiff stress. The guardian ad litem also
filed an objection to defendants’ motion to rescind the orders arguing that the time for filing an
objection to these orders had expired and defendants’ motion was an attempt to reset the “time
clock” for filing an appeal. The guardian ad litem also argued that the trial court’s jurisdiction
stemmed from the filing of the petition for emancipation, not the abuse and neglect petition

On March 22, 2002, the trial court heard defendants’ motion for summary disposition of
the emancipation and abuse and neglect petitions. At that time, Benedict declared that she filed a
motion to dismiss both petitions and the other requests for declaratory relief without prejudice
The trial court granted this motion But with regard to defendants’ motion to have the previous
orders declared void ab initio, the trial court stated, “l’ve dismissed the case and find the motion
to be mute [sic].” The trial court entered an order denying defendants’ motion to have the orders
declared void ab initio and entered an order dismissing the case without prejudice.

II. Mootness

"A case is moot when it presents only abstract questions of law that do not rest upon
existing facts or rights." B P 7 v Bureau of State Lotte)jy, 231 Mich App 356, 359; 586 NW2d
117 (1998). Generally, this Court need not reach moot issues or declare legal principles that
have no practical effect on the case "unless the issue is one of public significance that is likely to
recur, yet evade judicial review." Federated Publicatz`ons, Inc v Lansing, 467 Mich 98, 112; 649
NW2d 383 (2002). Because this case was dismissed and plaintiff has since reached the age of
majority, the issues presented on appeal no longer rest upon existing facts or rights. But we
address the issues nonetheless because we find them of public significance likely to recur, yet
evade judicial review.

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III. “Divorce” from Parents

The trial court’s September 19, 2000, ex-parte order and the order appointing the
guardian ad litem, entered pursuant to plaintiffs complaint for divorce8 are void because the trial
court lacked subject matter jurisdiction over an action for “divorce from parents,” a claim
unrecognized in Michigan

A. Standard of Review

Whether the trial court had subject matter jurisdiction over a claim is a question of law
that we review de novo. Harris v Vernier, 242 Mich App 306, 309; 617 NW2d 764 (2000).

B. Subject Matter Jurisdiction

We agree with defendants that the trial court lacked subject matter jurisdiction over
plaintiffs “complaint for divorce from parents.”

Jurisdiction of the subject matter is the right of the court to exercise judicial
power over a class of cases, not the particular case before it; to exercise the
abstract power to try a case of the kind or character of the one pending. The
question of jurisdiction does not depend on the truth or falsity of the charge, but
upon its nature: it is determinable on the commencement not at the conclusion, of
the inquiry. Jurisdiction always depends on the allegations and never upon the
facts. [Altman v Nelson, 197 Mich App 467, 472-473; 495 NW2d 826 (1992)
(citations omitted).]

The circuit court’s jurisdiction over divorce cases is strictly statutory. McCormick v McCormick,
221 Mich App 672, 680-681; 562 NW2d 504 (1997). Jurisdiction is conferred on the circuit
court by MCL 552.6 which provides in pertinent part:

(l) A complaint for divorce may be filed in the circuit court upon the
allegation that there has been a breakdown of the marriage relationship to the
extent that the objects of matrimony have been destroyed and there remains no
reasonable likelihood that the marriage can be preserved ln the complaint the
plaintiff shall make no other explanation of the grounds for divorce than by the
use of the statutory language [Emphasis added.]

“Marriage is inherently a unique relationship between a man and a woman.” MCL 551 .l.
It follows that a court only has jurisdiction over the divorce of a marriage between a man and
woman ln other words, while the family division of the circuit court has subject matter
jurisdiction over married couples seeking a divorce, it is without jurisdiction over claims filed by

 

8 Because the trial court entered the order appointing a guardian ad litem after plaintiff filed the
complaint for divorce, but before plaintiff filed the “amended complaint,” we conclude the order
was entered under the complaint for divorce

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children to divorce their parents That the trial court entertained such a claim, instead of
dismissing it outright, is unfathomable. When there is a lack of subject matter jurisdiction,
regardless what formalities the trial court may have taken, its actions are void. Allman, supra at
473.

C. Standing

Plaintiff also lacked standing to file the “complaint for divorce from parents.” In actions
governed by statute, a party must have standing bestowed by statute See Gz`rard v Wagenmaker,
437 Mich 231, 252; 470 NW2d 372 (1991). Rights accrue as a result of a legal marriage which
complies with the statutory requirements of MCL 551.1; legal rights do not accrue based upon a
relationship which does not meet the statutory requirements Ford v Wagner, 153 Mich App
466, 470; 395 NW2d 72 (1986). Plaintiffs relationship with her parents does not afford her with
the legal rights of a marriage because it does not meet the statutory requirements of MCL 551.1.

D. Parental Choice of School

We also find without merit the premise on which the “complaint for divorce from
parents” was based, i.e., that plaintiff objected to her parents’ decision to send her to a private
boarding school in Utah. Historically, Michigan has recognized parents’ right to manage their
children without state interference, absent compelling circumstances that threaten a child’s safety
and welfare Michigan laws and procedural rules, in keeping with the United States
Constitution, “protect the sanctity of the family precisely because the institution of the family is
deeply rooted in this Nation’s history and tradition.” Moore v Cizjy ofEast Clevelana’, 431 US
494, 503; 97 S Ct 1932; 52 L Ed 531 (1977). The Fourteenth Amendment’s Due Process Clause
provides heightened protection against government interference with the fundamental liberty
interest of parents to make decisions concerning the care, custody, and control of their children
'l`his includes the right of parents to control their children’s education Troxel v Granvl`lle, 530
US 57, 68; 120 S Ct 2054; 147 L Ed 2d 49 (2000); Meyer v Nebraska, 262 US 390, 401; 43 S Ct
625; 67 L Ed 1042 (1923).

The fundamental liberty interest of parents with regard to their children permeates
Michigan laws MCL 722.1 et seq. codifies this fundamental right Our courts have also
emphasized this right In Herbstman v Shiftan, 363 Mich 64, 67; 108 NW2d 869 (1961), our
Supreme Court recognized parents’ fundamental right with regard to their children:

It is a well-established principle of law that the parents, whether rich or poor, have
the natural right to the custody of their children The rights of parents are entitled
to great consideration, and the court should not deprive them of custody of their
children without extremely good cause A child also has rights, which include the
right to proper and necessary support; education as required by law; medical,
surgical, and other care necessary for his health, morals, or well-being . . . . It is
only when these rights of the child are violated by the parents themselves that the
child becomes subject to judicial control.

The Court recently reaffirmed this parental right to the care and custody of their children absent
proof of parental unfitness:

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Parents have significant interest in the companionship, care, custody, and
management of their children, and the interest is an element of liberty protected
by due process A due-process violation occurs when a state-required breakup of
a natural family is founded solely on a “best interests” analysis that is not
supported by the requisite proof of parental unfitness [In Re JK, 468 Mich 202,
210; 661 NW2d 216 (2003) (citations omitted).]

Here, the trial court wrongfully interfered in the Ryan family life based on an
unrecognized claim brought by an attorney without authority to act on plaintiffs behalf. Not
only did the trial court fail to give special weight to defendants’ decision to send plaintiff to a
private boarding school specializing in troubled teenage girls, but also gave no weight to the
presumption that defendants were fit parents Instead, the trial court, without holding any
hearing whatsoever, substituted its judgment for that of parents who had never been determined
unfit “‘[T]he Due Process Clause does not permit a State to infringe on the fundamental right of
parents to make childrearing decisions simply because a state judge believes a ‘better’ decision
could be made[.]”’ Hetzel v Hetzel, 248 Mich App 1, 20; 638 NW2d 123 (2001), quoting Troxel,
supra at 72-73. Indeed, this case was less about recognition of a child’s rights than the
intentional misuse of the legal system to circumvent laws designed to protect and maintain the
integrity of` families

E. Good Faith and Competence

The filing of this action calls into question the good faith and competence of plaintiffs
purported attomey.

Competent handling of a particular issue includes inquiry into and analysis of the
factual and legal elements of the problem, and use of methods and procedures
meeting the standards of competent practitioners It also includes adequate
preparation . . . [In re AMB, 248 Mich App 144, 225; 640 NW2d 262 (2001),
quoting the comment following MPRC l.l.]

Clearly Benedict failed to make any “inquiry into or analysis of the factual or legal elements of
the problem.” Instead, Benedict presented the court with an unverified, legally unsupported
complaint for a claim that has never existed in Michigan

For these reasons, the ex-parte order for return of plaintiff and order appointing a
guardian ad litem9 entered pursuant to plaintiffs complaint for divorce are void.

 

9 Additionally, it is inappropriate to appoint a guardian ad litem for a minor who is a plaintiff A
next friend commences a legal action on behalf of a minor whereas a guardian ad litem defends a
cause of action on behalf of a minor. MCR 2.201(E)(l) provides in relevant part:

(b) If a minor or incompetent person does not have a conservator to represent the

person as plaintijf the court shall appoint a competent and responsible person to
(continued. . .)

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IV. Emancipation Petition

The trial court erred in denying defendants’ motion for summary disposition of plaintiffs
emancipation petition because it was defective on its face and lacked factual support.lo Although
the trial court did not deny defendants’ motion, but instead granted Benedict’s motion to dismiss
without prejudice, we conclude that the trial court should have granted defendants’ motion for
summary disposition and dismissed the petition with prejudice

A. Standard of Review

With regard to the emancipation petition, defendants filed their motion for summary
disposition in part under MCR 2.116(C)(8). This Court reviews de novo a trial court’s decision
on a motion for summary disposition Koenig v City of South Haven, 460 Mich 667, 674; 597
NW2d 99 (1999). A motion for summary disposition under MCR 2.116(C)(8) tests the legal
sufficiency of a complaint Beaudrie v Henderson, 465 Mich 124, 129-130; 631 NW2d 308
(2001). The trial court may only consider the pleadings in rendering its decision Id. All factual
allegations in the pleadings must be accepted as true Dolan v Continental Airlines/Continental
Express, 454 Mich 373, 380-381; 563 NW2d 23 (1997).

B. Statutory Requirements

A minor seeking emancipation may commence an action in the family division of the
circuit court pursuant to MCL 722.4a which states in relevant part:

(l) A minor seeking emancipation shall file a petition for emancipation in the
family division of circuit court in the county where the minor resides The petition
shall be signed and verified by the minor, and shall include all of the following
information

(a) The minor's full name and birth date, and the county and state where the
minor was born

 

(. . .continued)

appear as next friend on his or her behalf, and the next friend is responsible for
the costs of the action

(c) If the minor or incompetent person does not have a conservator to represent
the person as defendant the action may not proceed until the court appoints a
guardian ad litem, who is not responsible for the costs of the action unless, by
reason of personal misconduct he or she is specifically charged costs by the
court [Emphasis added; see also MCR 2.201(E)(1); MCL 600.2415.]

Because plaintiff was a plaintiff, not a defendant appointment of a guardian ad litem was
improper.

0 Defendants assert that the trial court lacked subject matter jurisdiction, but the circuit court
family division clearly has original jurisdiction over emancipation petitions MCL 722.4a.

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(b) A certified copy of the minor's birth certificate

(c) The name and last known address of the minor's parents, guardian, or
custodian

(d) The minor's present address, and length of residency at that address

(e) A declaration by the minor indicating that he or she has demonstrated the
ability to manage his or her financial affairs The minor may include any
information he or she considers necessary to support the declaration

(f) A declaration by the minor indicating that he or she has the ability to
manage his or her personal and social affairs The minor may include in this
section any information he or she considers necessary to support the
declaration

(2) The petition shall include an affidavit by any of the following individuals
declaring that the individual has personal knowledge of the minor's circumstances
and believes that under those circumstances emancipation is in the best interests
of the minor;

(a) Physician.

(b) Nurse.

(c) Member of the clergy.
(d) Psychologist

(e) Family therapist

(f) Certified social worker.
(g) Social worker.

(h) Social work technician
(i) School administrator.

(j) School counselor.

(k) Teacher.

(l) Law enforcement officer.
(m) Duly regulated child care provider.

(3) A copy of the petition and a summons to appear at the hearing shall be served
on the minor's parents or guardian A notice of hearing shall be sent to the

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individual who provided the affidavit required under subsection (2). [Emphasis
added.]

The Legislature's repeated use of the Word "shall" indicates a mandatory requirement
See Scarscella v Pollak, 461 Mich 547, 549; 607 NW2d 711 (2000). Although our courts have
not addressed the effect of failure to file mandatory affidavits and documents in the context of
emancipation petitions, our Supreme Court has determined, With respect to medical malpractice
cases, that when a required affidavit is absent or defective, the complaint, standing alone, is
insufficient to commence a medical malpractice action Id. Likewise, we hold that a petition for
emancipation filed without the statutorily mandated affidavits and documents is insufficient to
commence an emancipation action

Here, the trial court excused the lack of affidavits and documents finding they Were
unavailable because plaintiff was in Utah. The trial court erred First, the statute does not allow
the affidavits and documents to be excused The statute clearly states that the affidavits and
documents must be filed with the petition MCL 722.4a. Thus, Benedict’s promise to supply the
affidavits and documents later did not fulfill the statutory requirements Second, even assuming
that defendants sent plaintiff to Utah to prevent the filing of an emancipation petition, this was
no basis for excusing mandatory procedure It is well recognized in Michigan that a parent may
provide proper custody for a child with another person so long as it is not neglectful. In re
Systma, 197 Mich App 453, 455; 495 NW2d 804 (1992);1n re Hurlbut, 154 Mich App 417, 423;
397 NW2d 332 (1986). Here, the trial court had made no determination that defendants’ sending
plaintiff to a private boarding school for troubled teenagers was neglectful. Moreover, as we
stated above, defendants acted within their rights in making and enacting this decision

For these reasons, the petition for emancipation failed to state a claim upon which relief
could be granted; the trial court should have granted defendants’ motion for summary
disposition

C. Lack of Evidentiary Support
The trial court also erred in denying defendants’ motion for summary disposition under
MCR 2.116(C)(10) because it was uncontested that defendants objected to the emancipation
petition and were providing support for plaintiff

A motion for summary disposition under MCR 2.116(C)(10) tests whether there is factual
support for a claim. Universal Underwriters Group v Allstate Ins Co, 246 Mich App 713, 720;
635 NW2d 52 (2001), "Affidavits, pleadings, depositions, admissions, and documentary
evidence are considered in reviewing a motion for summary disposition pursuant to MCR
2.116(C)(10), and the evidence is viewed is viewed ‘in the light most favorable to the party
opposing the motion'" Id. "Summary disposition is proper under MCR 2.116(C)(10) if the
documentary evidence shows that there is no genuine issue of material fact and the moving party
is entitled to judgment as a matter of law." Id.

The trial court’s authority to act upon a properly filed petition, is limited MCL 722.4b
provides:

After a petition is filed, the court may do l or more of the following:

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(a) Assign an employee of the court to investigate the allegations of the petition
and to file a report containing the results of the investigation with the court

(b) Appoint legal counsel for the minor.

(c) Appoint legal counsel for the minor's parents or guardian if they are indigent
and if they oppose the petition

(d) Dismiss the petition if the minor's custodial parent does not consent and is
providing support [Emphasis added.]

Additionally, MCL 722.4c(2) provides in relevant part:

. . . The court shall issue an emancipation order if it determines that emancipation
is in the best interest of the minor and the minor establishes all of the following:

(a) That the minor's parent or guardian does not object to the petition; or if a
parent or guardian objects to the petition, that the objecting parent or guardian is
not providing the minor with support

(b) That the minor is at least 16 years of age
(c) That the minor is a resident of the state . . . [Emphasis added.]

Here, it is undisputed that defendants continuously objected to the petition for
emancipation. It is further undisputed that defendants had always, and continued throughout
these proceedings to support plaintiff Therefore, there was no factual basis for the trial court to
further consider the emancipation petition

V. Abuse and Neglect

Defendants’ also argue that the trial court improperly exercised its jurisdiction by
ordering plaintiff into temporary placement We agree Not only did the trial court err in failing
to conduct a preliminary hearing to determine if probable cause existed to authorize the petition,
MCR 151.965, it denied defendants the right to a trial on the allegations in the petition, MCR
5.972.

The trial court’s jurisdiction in child protection proceedings is governed by MCL 712A.2
which provides in relevant part:

(b) Jurisdiction in proceedings concerning a juvenile under 18 years of age
found within the county:

 

ll The court rules governing child protective proceedings were amended as part of new MCR
subchapter 3.900, effective May l, 2003. We refer to the rules in effect at the time this matter
was pending before the trial court

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(l) Whose parent or other person legally responsible for the care
and maintenance of the juvenile, when able to do so, neglects or refuses to
provide proper or necessary support education, medical, surgical, or other
care necessary for his or her health or morals, who is subject to a substantial
risk of harm to his or her mental well-being, who is abandoned by his or her
parents, guardian, or other custodian, or who is without proper custody or
guardianship. . . .

(2) Whose home or environment by reason of neglect cruelty,
drunkenness criminality, or depravity on the part of a parent guardian,
nonparent adult or other custodian, is an unfit place for the juvenile to live
in

With regard to an abuse and neglect petition, subject matter jurisdiction is established
“when the action is of a class that the court is authorized to adjudicate, and the claim stated in the
complaint is not clearly frivolous.” In re Hatcher, 443 Mich 426, 437; 505 NW2d 834 (1993).
The valid exercise of jurisdiction is established by the contents of the petition after the probable
cause hearing on the allegations Id. at 438. lf the trial court finds probable cause to believe the
allegations are true, it may enter preliminary, limited orders concerning the care and placement
of the child pending the adjudicative trial. MCR 5.965(C). However, the trial court may
exercise its full jurisdictional authority only following an adjudication at which at least one of
the statutory grounds in MCL 712A.2(b) is proven by trial or plea. Id. at 437; In re PAP, 247
Mich App 148, 153; 640 NW2d 148 (2001). The factfinder must determine by a preponderance
of evidence that the statutory requirements of MCL 712A.2 are met MCR 5.965 and
5.972(C)(1); In re Brock, 442 Mich 101, 109; 499 NW2d 752 (1993). And, ajury trial may be
demanded to determine the facts at the adjudicative phase MCR 5.911; MCL 712A.17(2); see
also In re Brock, supra at 108.

Here, because the petition cited to MCL 712A.2, the trial court arguably had subject
matter jurisdiction But the valid exercise of jurisdiction is yet another question Because the
amended complaint requested suitable placement termination of defendants’ parental rights, and
removal of plaintiff from defendants’ custody, the trial court was required to conduct a
preliminary hearing to determine whether probable cause existed to substantiate that the facts
alleged in the petition were true and fell within MCL 712A.2(b). Yet without conducting the
required hearing, the trial court in essence took custody of plaintiff by removing her from
defendants’ care and custody and placing plaintiff in foster care The trial court improperly
exercised its jurisdiction by implicitly authorizing the petition to be filed and ordering plaintiff
into temporary foster care.

Child protective proceedings protect children, but the procedural rules are also designed
to protect parents from the risk of an erroneous deprivation of the parent’s liberty interest in the
management of their child In re Brock, supra at 107. The trial court’s structural error deprived
defendants of the opportunity to defend the allegations before the trial court issued a series of
orders that stripped defendants of their right to exercise care and custody of their daughter. In re
PAP, supra at 155. Because the trial court never properly assumed jurisdiction, all orders based
on the Wrongf`ul assumption of jurisdiction are void ab initio. ln re Kurzawa, 95 Mich App 346;
290 NW2d 431 (1980).

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VI. Conclusion

We are deeply troubled that this matter was allowed to proceed in the trial court for as
long as and in the manner in Which it did. Based on improperly filed documents filed by an
attorney without authority to act on plaintiffs behalf, the trial court in a fundamental
misunderstanding or disregard of its proper role, stripped defendants of their basic constitutional
rights to manage and care for their child without state interference All of the orders entered
completely ignored that absent a showing of parental unfitness, the state may not interfere with
an intact family.

We reverse and remand this case to the trial court with the direction to enter an order of

dismissal with prejudice in favor of defendants and vacate all previous orders We do not retain
jurisdiction

/s/ E. Thomas Fitzgerald
/s/ Kirsten F rank Kelly

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STATE OF MICHIGAN

COURT OF APPEALS

 

CLAIRE EVELYN RYAN, FOR PUBLICATION
January 15, 2004
Plaintiff-Appellee,
v No. 240695
Kent Circuit Court
TIMOTHY J. RYAN and CHRIS RYAN, LC No. 01-09528-DZ

Defendants-Appellants.

 

Before: Cooper, P.J., and Fitzgerald and Kelly, JJ.

CGOPER, P.J. (concurring in part and dissenting in part).

I concur with the majority opinion that this case is moot as it has been dismissed and
plaintiff has reached the age of majority. lt is clear from the factual Scenario that this is a most
unusual case and unlikely to recur. Because the issues presented on appeal no longer rest upon
existing facts or rights, I believe it is unnecessary to address these issues as they have no
practical effect on the casel

However, I respectfully dissent from the majority opinion reversing and remanding to the
trial court This case was voluntarily dismissed l fail to see how we can logically reverse a
dismissal and then remand the case to the trial court to have the court enter another dismissal.

/s/ Jessica R. Cooper

 

l Federated Publications, lnc v Lansing, 467 Mich 98, 112; 649 NW2d 383 (2002).

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